                Case 16-23482                 Doc        Filed 07/29/21                 Entered 07/29/21 07:50:48                     Desc Main
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 Fill in this information to identify the case:

 Debtor 1                  Lawrence T. Masiclat
                           aka Louie Tuazon
 Debtor 2                  Mylene Masiclat
 (Spouse, if filing)
 United States Bankruptcy Court for the:           Northern       District of           Illinois
                                                                                        (State)
 Case number                                      16-23482



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                       12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:                 Credit Suisse First Boston Mortgage Securities                   Court claim no. (if known):                       2-2
                                  Corp., CSFB Mortgage-Backed Pass-Through
                                  Certificates, Series 2004-AR6, U.S. Bank National
                                  Association, as Trustee C/O Specialized Loan
                                  Servicing, LLC

Last four digits of any number you use to                                                          Date of payment change:
identify the debtor's account:                                                  7290               Must be at least 21 days after date of       09/01/2021
                                                                                                   this notice



                                                                                                   New total payment:
                                                                                                   Principal, interest, and escrow, if any $1,847.31

Part 1:                Escrow Account Payment Adjustment

 1. Will there be a change in the debtor's escrow account payment?
     No
     Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
              the basis for the change. If a statement is not attached, explain why:

                          Current escrow payment:        $972.87                                   New escrow payment:            $985.20

Part 2:                Mortgage Payment Adjustment

 2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's variable-
    rate account?
     No
     Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
              attached, explain why:

                         Current interest rate:                                     %              New interest rate:                               %

                         Current principal and interest payment                 $                  New principal and interest payment:      $

Part 3:                Other Payment Change

 3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                agreement. (Court approval may be required before the payment change can take effect.)
                         Reason for change:
                         Current mortgage payment:            $                                     New mortgage payment:         $




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Debtor 1                                      Lawrence T. Masiclat                            Case Number (if known)                16-23482
                         First Name              Middle Name           Last Name



Part 4:        Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and t elephone number.
Check the appropriate box.
                        I am the creditor.

                        I am the creditor's authorized agent.


I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
information, and reasonable belief.


     /s/ Matthew Tillma                                                                 Date      07/28/2021
      Signature


Print:            Matthew Tillma                                                          Title    Authorized Agent for Specialized Loan Servicing,
                   First Name            Middle Name             Last Name                         LLC



Company           Bonial & Associates, P.C.


Address           14841 Dallas Parkway, Suite 425
                  Number                Street

                  Dallas, Texas 75254
                  City                  State                   Zip Code


Contact phone             (972) 643-6600                           Email     POCInquiries@BonialPC.com




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            CERTIFICATE OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE


I hereby certify that a true and correct copy of the foregoing document has been served upon the following parties in
interest on or before July 29, 2021via electronic notice unless otherwise stated.

Debtor               Via U.S. Mail
Lawrence T. Masiclat
5721 Caribou Ln.
Hoffman Estates, IL 60192

Debtor               Via U.S. Mail
Mylene Masiclat
5721 Caribou Ln.
Hoffman Estates, IL 60192

Debtors' Attorney
Mohammed O Badwan
Sulaiman Law Group, LTD
2500 S. Highland Ave
Suite 200
Lombard, IL 60148

Chapter 13 Trustee
M.O. Marshall
55 E. Monroe Street, Suite 3850
Chicago, IL 60603

                                                       Respectfully Submitted,
                                                       /s/ Matthew Tillma




PAYMENT CHANGE NOTICE - CERTIFICATE OF SERVICE                                                           4128-N-1313
                                                                                                     PmtChgCOS_0001
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